991 F.2d 787
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Frank BOWEN, Plaintiff-Appellant,v.STATE OF NORTH CAROLINA, Defendant-Appellee.
    No. 93-1019.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 22, 1993
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Graham C. Mullen, District Judge.  (CA-92-111-5-M)
      John Frank Bowen, Appellant Pro Se.
      W.D.N.C.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      John Frank Bowen appeals from the district court's order denying his petition for removal of criminal prosecution pursuant to 28 U.S.C. § 1443 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bowen v. State of North Carolina, No. CA-92-111-5-M (W.D.N.C. Dec. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    